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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA, CASE NUMBER¢
PLAINTIFF i ¢
v_ clear - 00 ,;Z'?>V» l~DK
33
GFE 60£7' /‘H,A~l F@ST‘Y ’C REPoRT CoMMENcING §PN§IAL
ACTIC N ;`~""" ,
DEFENDANT(s). gr;;." ,‘-G
mr"'. 1 ° . m
4 ' ij 2 “. _-¢
TO: CLERK’S OFFICE, U. S. DISTRICT COURT é§§; m ` r-
. v '-'Q¥€ § §
All items are to be completed. lnforrnation not applicable or unknown Will be indicated aSZ,'Q/‘ ”. ___ ;,
, .» 0 00
l. Dateandtimeofarrest: ?//§/dq /;75_ l:|AM/I:+HG §§ g
v . 3?
2. Defendant is in lock-up (in this court building) Yes |Il/ No [l ' "'
3. Charges under Which defendant has been booked:
_// asc 3 5"0" 5
4. Offense charged is a: U’§lony |:| Minor Offense [l Petty Offcnse |:l Other Misdemeanor
5'. U.S. Citizen: E§es [l No [l Unknown
6. Interpreter Required: m [l Yes: (Language)
7. Year of Birth: /Q §§
8. The defendant is: |]J/Iésently in custody on this charge.
[I Federal - In custody on another conviction.
v l:| State - In custody awaiting trial on these charges
9. Place of detention (if out-of-district): [\){ /'l'
lO. Date detainer placed on defendant id 1 felt
ll. This is a reprosecution of previously dismissed charges (Docket/Case No. )
lZ. Does the defendant have retained counsel ? o
|:| Yes Name: and Phone Number:
13. I;?)g)u notify Pretrial Services? l:| No
If yes, please list Officer’s Name: DN`_/ O/§E€E /€ Time: //5' AM /@

 

l4. Remarl<s (if any):

 

 

lS.Date: 7//§~/54 , 16.Name: /l `M/)‘}LT`@’\/
17. Agency: U$/"‘ 5 18. Signature:

(Please Print)

 

l9. Offlce Phone Number: di 72 79 51 09~5"

 

CR~64 (06/09) REPORT COMMENCING CRIMINAL ACTION

